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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                          )
                                                          )
    SMARTMATIC USA CORP., SMARTMATIC                      )
    INTERNATIONAL HOLDING B.V., and SGO                   )
    CORPORATION LIMITED,                                  )
                                                          )
    Plaintiffs,                                           )   Case No. 21-cv-02995-CJN
                                                          )
                  v.                                      )
                                                          )
    SIDNEY POWELL,
                                                          )
    Defendant.                                            )
                                                          )
                                                          )

                   SMARTMATIC’S MOTION TO STAY PROCEEDINGS

          Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (“Smartmatic”) respectfully move the Court for a stay of this action until the

New York State Court in Smartmatic USA Corp., et al. v. Fox Corporation, et al., No. 151136/2021

(filed Feb. 4, 2021), decides Defendant Sidney Powell’s pending motion to dismiss, which claims,

inter alia, that the New York Court lacks personal jurisdiction (“Ms. Powell’s Motion to

Dismiss”). Smartmatic further requests that this Court hold a status conference to determine if the

stay should continue within 14 days after the New York State Court issues its decision on Ms.

Powell’s Motion to Dismiss. 1.

                                        BACKGROUND

          On February 4, 2021, Smartmatic sued Ms. Powell, Fox Corporation, Fox News Network

LLC, Lou Dobbs, Maria Bartiromo, Jeanine Pirro, and Rudolph Giuliani in the Supreme Court of

the State of New York because of false and defamatory statements they made about Smartmatic in


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 Counsel for Smartmatic conferred with counsel for Ms. Powell regarding this request. Counsel
for Ms. Powell stated that Ms. Powell is unable to stipulate to a stay of proceedings at this time.
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connection with, among other things, the 2020 U.S. election, Smartmatic’s role in the 2020 U.S.

election, and Smartmatic’s history. (Smartmatic USA Corp., et al. v. Fox Corporation, et al., Index

No. 151136/2021, New York Supreme Court, New York County (the “New York Action”),

NYSCEF 1.) In the New York Action, Smartmatic pleads seven defamation claims and five

disparagement claims against Ms. Powell. (Id.)

       On April 8, 2021, Ms. Powell moved to dismiss Smartmatic’s Complaint. While Ms.

Powell’s Motion to Dismiss is directed, in part, at the merits of Smartmatic’s claim and the

sufficiency of Smartmatic’s Complaint, Ms. Powell also seeks to dismiss the New York Action for

lack of personal jurisdiction. (New York Action, NYSCEF 289.) On May 17, 2021, Smartmatic

filed its opposition to Ms. Powell’s Motion to Dismiss and filed a cross-motion for permission to

take jurisdictional discovery. (New York Action, NYSCEF 742; NYSCEF 743.) On August 17,

2021, the New York Court held oral argument on Ms. Powell’s Motion. The New York Court has

not yet ruled on Ms. Powell’s Motion to Dismiss or Smartmatic’s cross-motion for permission to

take jurisdictional discovery.

       On November 12, 2021, Smartmatic commenced this Action against Ms. Powell based on

the same false and defamatory statements alleged in the New York Action. (Dkt. 1.) As to Ms.

Powell, the allegations in this complaint are virtually identical to those in the New York Action.

As in the New York Action, Smartmatic pleads seven defamation claims and five injurious

falsehood claims against Ms. Powell. (Id.) As set forth in the Preliminary Statement to

Smartmatic’s Complaint, Smartmatic filed this action solely as a precautionary measure. (Id.) If

the New York Court finds personal jurisdiction over Ms. Powell, Smartmatic will prosecute its




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claims against her in that forum. If the New York Court finds that it lacks personal jurisdiction

over Ms. Powell, Smartmatic will litigate its claims against her in this Court. 2

        Smartmatic was required to commence this action against Ms. Powell to preserve its claim

against Ms. Powell. As the Court knows, Washington, D.C. has a one-year statute of limitations

for defamation actions. D.C. Code § 12-301. Washington, D.C. also does not have a saving statute

to toll statutes of limitations if personal jurisdiction is found lacking in the original action. East v.

Graphic Arts Indus. Joint Pension Tr., 718 A.2d 153, 156 (D.C. 1998) (“[T]he District of

Columbia is one of a minority of jurisdictions that has not adopted a general equitable ‘saving’

statute to toll statutes of limitations[.]”); Curtis v. Aluminum Ass’n, 607 A.2d 509, 512 (D.C. 1992)

(Rogers, C.J., and Schwelb, J., concurring) (“[D.C.’s] current rule means that, contrary to the usual

concern about judicial economy, much less making the courts available and avoiding unnecessary

litigation and litigation costs, a plaintiff must file in all possible fora in order to avoid a later

limitations bar.”). Ms. Powell made her first alleged defamatory statement on November 14, 2020.

(Dkt. 1 at ¶ 84.) Smartmatic was, therefore, required to commence this action prior to November

14, 2021 to preserve its claims against Ms. Powell in a forum that has personal jurisdiction over

her in the unlikely event the New York Court decides that it does not. 3




2
 By letter dated November 12, 2021, Smartmatic advised New York Supreme Court Justice David
B. Cohen, the judge presiding over the New York Action, that Smartmatic filed this action solely
as a precautionary measure and that New York was Smartmatic’s preferred forum to litigate these
matters against all of the defendants. (New York Action, NYSCEF 844.)
3
 This Court has already found personal jurisdiction over Ms. Powell in a related action for claims
arising out of substantially similar events. US Dominion, Inc. v. Powell, No. 21-cv-00040-CJN,
2021 WL 3550974, at *14–15 (D.D.C. Aug. 11, 2021) (the “Dominion Action”). Indeed, many of
the statements made by Ms. Powell about Dominion in the Dominion Action include statements
at issue in Smartmatic’s Complaint because Ms. Powell was speaking about Smartmatic and
Dominion.


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                                             ARGUMENT

        This Court’s power to stay proceedings is well-settled. “[T]he power to stay proceedings

is incidental to the power inherent in every court to control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel, and for litigants.” Airline Pilots

Ass’n v. Miller, 523 U.S. 866, 879 n.6 (1998) (quoiting Landis v. N. Am. Co., 299 U.S. 248, 254

(1936)); see also Am. Life Ins. Co. v. Stewart, 300 U.S. 203, 215 (1937) (“In the exercise of a

sound discretion [the court] may hold one lawsuit in abeyance to abide the outcome of another,

especially where the parties and the issues are the same.”). When exercising the power to stay a

case, courts “weigh competing interests and maintain an even balance between the court’s interests

in judicial economy and any possible hardship to the parties.” Belize Soc. Dev. Ltd. v. Gov't of

Belize, 668 F.3d 724, 732–33 (D.C. Cir. 2012) (internal citations and quotations omitted). “Indeed,

a trial court may, with propriety, find it is efficient for its own docket and the fairest course for the

parties to enter a stay of an action before it, pending resolution of independent proceedings which

bear upon the case.” Nat'l Shopmen Pension Fund v. Folger Adam Sec., Inc., 274 B.R. 1, 3 (D.D.C.

2002) (internal citation and quotations omitted).

        A stay is proper here for three reasons. First, it is well settled that “litigating essentially the

same issues in two separate forums is not in the interest of judicial economy or in the parties’ best

interests.” Naegele v. Albers, 355 F. Supp. 2d 129, 141 (D.D.C. 2005) (quoting Nat'l Shopmen

Pension Fund, 274 B.R. at 3); NextEra Energy Glob. Holdings B.V. v. Kingdom of Spain, 2020

WL 5816238, at *2 (D.D.C. Sept. 30, 2020). Smartmatic has filed this action solely as a

precautionary measure in the event that personal jurisdiction over Ms. Powell is found lacking in

the New York Action. Until Ms. Powell’s Motion to Dismiss is decided in the New York Court,

this Court should not spend its limited time and resources overseeing this action and having the




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parties litigate the same defamation and disparagement claims in two forums. See Feld Ent., Inc.

v. A.S.P.C.A., 523 F. Supp. 2d 1, 5 (D.D.C. 2007) (granting stay because, amongst other reasons,

it serves interest of “judicial economy and efficiency” where “[t]he administrative burden of

managing two such suits concurrently would not be an efficient allocation of the Court’s limited

resources”).

       Second, a stay promotes judicial economy because it avoids the risk of inconsistent rulings

on the merits of Smartmatic’s claims and Ms. Powell’s defenses by two different Courts. Ms.

Powell’s Motion to Dismiss in the New York Action is not limited to the issue of personal

jurisdiction. Ms. Powell’s Motion to Dismiss is also directed to the merits of Smartmatic’s claims

and the sufficiency of the allegations made in Smartmatic’s Complaint. If this action is not stayed,

Ms. Powell must respond to or answer Smartmatic’s Complaint by January 15, 2022. Thereafter,

there is a risk that this Court may be forced to decide a motion directed to the same legal and

factual issues currently being considered by the New York State Court.

       Third, the parties will not face any prejudice or other hardship from a stay of proceedings.

To the contrary, a stay benefits the parties. A stay prevents the expense to the parties of litigating

duplicative issues in two forums at the same time. Additionally, at this time, Smartmatic seeks

only to stay this action long enough to permit the New York State Court to adjudicate Ms. Powell’s

personal jurisdiction objection. The stay being currently requested is of a limited duration because

the motion has been fully briefed, argued, and awaiting a decision. Seneca Nation of Indians v.

U.S. Dep't of Health & Hum. Servs., 144 F. Supp. 3d 115, 120 (D.D.C. 2015) (granting “temporary

stay” as “the best way to ensure orderly, efficient litigation with a foreseeable endpoint” where

related agency proceeding is “fully briefed” and “a decision could follow in relatively short

order”).




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                                          CONCLUSION

       For these reasons, Smartmatic respectfully requests that the Court stay all proceedings in

this action until the New York State Court decides Ms. Powell’s Motion to Dismiss currently

pending in the New York Action and further requests that, within 14 days after the New York State

Court issues its decision on Ms. Powell’s Motion to Dismiss, this Court hold a status conference

to determine if the stay of this action should continue or be lifted.



Dated: November 24, 2021                              Respectfully submitted,

                                                      /s/ Emily Newhouse Dillingham
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                                                      Attorneys for Plaintiffs Smartmatic USA
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                                                      and SGO Corporation Limited




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                                   CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document will be filed with

the Clerk of Court using the CM/ECF system on November 24, 2021, which will send notification

of such filing to the following:




                                                    /s/ Emily Newhouse Dillingham
                                                    Emily Newhouse Dillingham




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